                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE DIVISION


 JESSE PIERCE and MICHAEL PIERCE,                  )
 on behalf of themselves and all others            )
 similarly situated,                               )
                                                   )
                Plaintiffs,                        )
                                                   )
 v.                                                ) Civil Action No.: 3:13-cv-00641-DCP
                                                   )
 WYNDHAM VACATION RESORTS,                         )
 INC., and WYNDHAM VACATION                        )
 OWNERSHIP, INC.,                                  )
                                                   )
                Defendants.                        )


                      DEFENDANTS’ RESPONSE BRIEF ON REMAND


        Defendants Wyndham Vacation Resorts, Inc. and Wyndham Vacation Ownership, Inc.

 (“Defendants” or “Wyndham”) respectfully submit this Response to Plaintiffs’ Damages Brief on

 remand. Following a ruling from the Sixth Circuit, which vacated the Court’s prior damages

 award, this Court directed the Parties to submit briefs on how to reassess damages for in-house

 and front-line sales representatives. (ECF No. 465). Instead of doing that, Plaintiffs used most of

 their brief to reargue liability, apparently recognizing the need to obfuscate the fact that while

 Judge Shirley found them credible on liability issues, he did not find them credible with respect to

 the number of hours they claimed to work. Rather than provide a meaningful and constructive

 damages model, Plaintiffs reassert the same argument that Judge Shirley rejected and that the Sixth

 Circuit declined to adopt—that the Court should take Plaintiffs at their word on hours worked and

 award them everything that they asked for. Such an argument flies in the face of Judge Shirley’s




Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 1 of 21 PageID #: 18438
 credibility determinations, which were left intact by the Sixth Circuit and which cannot be ignored

 by the Court.

         Wyndham has presented the Court with a reasonable damages model based on Plaintiffs’

 own off-the-clock study; i.e. based on concrete, objective data. Plaintiffs, in contrast, fail to

 present the Court with any model to consider. Instead, they fall back on the only evidence that

 they have to support their outrageous damages demands—their own discredited testimony.

 Effectively, Plaintiffs have provided the Court with nothing upon which to base a determination

 of their hours worked as it would be improper for the Court to believe, on a cold record, testimony

 that Judge Shirley did not believe after having the benefit of seeing roughly a score of Plaintiffs

 live and hearing weeks of testimony. Wyndham respectfully submits that the Court must reject

 Plaintiffs’ demand for 23.54 hours of overtime per week and, instead, should adopt Wyndham’s

 model and the overtime hours set forth therein.

     A. Judge Shirley Rejected Plaintiffs’ Outrageously High Claims of Hours Worked.
         Plaintiffs’ brief gives the reader the misleading impression that Judge Shirley found that

 everything Plaintiffs testified to was credible, but that is not reflected in his Opinion. At no time

 does Judge Shirley use the word “credible” or any other similar word to describe Plaintiffs’ claims

 as to the ‘average’ hours they worked, Plaintiffs repetitive use of the word “credible” in their brief

 notwithstanding.1 Judge Shirley’s credibility findings that favor Plaintiffs relate to liability issues,


 1
   As to the repeated citation to a finding that Kristin Creson was “highly credible”, Ms. Creson
 was not a Plaintiff and the credibility finding had nothing to do with the Plaintiffs’ claims as to
 their average hours worked; rather, it related to whether Wyndham edited timecards. (ECF No.
 427 at 118-119 (“In particular, the Court finds Plaintiffs and Plaintiffs’ witness (Kristen Creson),
 who testified that managers edited timecards, highly credible on this issue, especially in light of
 the documentary evidence and managers’ own admission that they did in fact doctor timecards.”))
 (emphasis added)). Similarly, Judge Shirley found that David Nelon was credible on the issue of
 editing time cards (id. at 119) and that Jeff Cross was credible on the issue of instructing employees
 to clock out and keep working (id. at 120).


                                     2
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 2 of 21 PageID #: 18439
 which explains why Plaintiffs spend so much time focusing on liability in their opening brief.

 Liability, however, is not at issue on remand.

        On the issue presently before the Court, which is how many hours Plaintiffs worked each

 week, Judge Shirley found Plaintiffs’ testimony was not credible. Notably, when Judge Shirley

 turned to determining how many hours the Plaintiffs worked, he wrote:

        The Court must now determine the amount of uncompensated hours worked. The
        Court observes that its “determination is by necessity imprecise, involving
        estimates and averages, since Defendant[s] failed to keep records of the precise
        time Plaintiffs worked.” [citation omitted]. Specifically, Plaintiffs have requested
        that the Court award 63.66 hours per week for all Plaintiffs. See [Doc 417-5]. While
        the Court finds Plaintiffs have established they worked overtime, the Court finds
        that Defendants have somewhat rebutted Plaintiffs’ average, and further finds
        Plaintiffs’ own testimony, albeit only estimates, to be a bit on the high side, and,
        thus, a reduction is warranted.

 (ECF No. 427 at 132-33 (emphasis added)). Thus, the very first finding made by Judge Shirley as

 to Plaintiffs’ hours of work is one that can only be read as a finding that Plaintiffs’ testimony on

 this issue was not credible and not to be believed.

        Judge Shirley went on to make additional findings of fact that further explain his

 determination that Plaintiffs’ testimony regarding their hours of work was not credible. Judge

 Shirley found that:

    •   Plaintiffs exaggerated the frequency of after-hours work. (See id. at 135 (“[T]he Court

        does not find that they ‘always’ or even ‘regularly’ worked as long as some claimed.”));

    •   Plaintiffs exaggerated how busy they were with sales tours and the time of day that they

        left work. (See id. at 135 (“The Court finds there were some very busy days, weeks, and

        months (i.e., Rocktober, Yesvember, holidays, and summers), but there were also slow

        days, less tours, and leaving early.”));




                                     3
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 3 of 21 PageID #: 18440
    •   Plaintiffs exaggerated their hours regarding the slow season. (Id. at 134 (“The Court finds,

        however, that January and February were considered the slow season and that during these

        months, Plaintiffs did not work as many hours. While a number of Plaintiffs testified that

        they worked the same amount of hours during the slow season as the busy season, the Court

        finds otherwise.”)); id. at 135 (noting that, in addition to working less hours, Plaintiffs also

        “took off more . . . for trips, vacations, personal matters, medical and family issues”)).

        Plaintiffs’ discussion in their brief of Judge Shirley’s findings with respect to the credibility

 of Defendants’ witnesses is irrelevant. Defendants’ damages model is not dependent upon this

 Court rejecting Judge Shirley’s credibility findings. Rather, it is based on acceptance of Judge

 Shirley’s factual finding that Plaintiffs’ testimony as to the hours worked was not credible,

 Plaintiffs’ own off-the-clock study, and application of reason that recognizes that the only

 reasonable interpretation of the fact that sales fell precipitously over the course of the afternoon

 and evening is that fewer and fewer sales representatives were working. (See ECF No. 467 at 5-

 17). Plaintiffs, on the other hand, are depending on this Court to throw reason out the window and

 reject Judge Shirley’s credibility determination with respect to hours worked. This the Court must

 not do. Judge Shirley expressly referenced his credibility determinations to support his finding

 regarding average hours worked per week:

        The Court arrives at its conclusion by considering all of the testimony of all the
        various witnesses, as well as the exhibits provided. Obviously, the Court finds some
        testimony more credible, reasonable, and persuasive than other testimony, and this
        has been set forth in this opinion. The Court concludes that the Sales
        Representatives worked five to six days per week from March to December and
        something less in January and February. The Court is mindful that the time records
        are essentially of no use due to their falsity and inaccuracy. The Court is also
        mindful that the estimates of hours of all witnesses were, at best, estimates of hours
        worked years ago. The Court is also mindful that each witness may have been
        somewhat biased, high or low, in their respective testimony and estimates on hours
        worked. Nonetheless, the Court is comfortable that based on all the testimony that




                                     4
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 4 of 21 PageID #: 18441
        Sales Representatives averaged 52 hours per week. This means that they worked an
        average of 12 hours of overtime per week for the three year Recovery Period.

 (ECF No. 427 at 156-57 (emphasis added)). Plaintiffs cannot pick and choose which credibility

 findings that they want this Court to follow and which they want the Court to set aside. The reality

 is that on the question of how many hours Plaintiffs worked each week, Judge Shirley found that

 Plaintiffs were not credible.

    B. The Court Should Not Disturb Judge Shirley’s Determination That Plaintiffs Did Not

        Testify Credibly Regarding Their Hours of Work.

        One point on which the Parties appear to agree is that the importance of Judge Shirley’s

 having had the opportunity to see and hear the witnesses live cannot be overstated. As Plaintiffs’

 pointed out in their opening brief:

        “Findings of fact shall not be set aside unless clearly erroneous.” Anderson v. City
        of Bessemer City, N.C., 470 U.S. 564, 573 (1985). Moreover, when a District
        Court’s findings of fact rest on credibility determinations, “Rule 52(a) demands
        even greater deference to the trial court’s findings; for only the trial judge can be
        aware of the variations in demeanor and tone of voice that bear so heavily on the
        listener’s understanding of and belief in what is said.” Id. at 575 (emphasis added)
        (citing Wainwright v. Witt, 469 U.S. 412, 105 S. Ct. 844, 83 L.Ed.2d 841 (1985));
        see also Bartling v. Fruehauf Corp., 29 F.3d 1062, 1067 (6th Cir. 1994).

 (ECF No. 468 at 9). Plaintiffs misapply this standard in two ways, however. First, Plaintiffs

 ultimately accord deference only to those determinations by Judge Shirley that favor themselves

 and not to those that do not. Specifically, Plaintiffs disregard and hope to sweep under the rug

 Judge Shirley’s determination that Plaintiffs’ claims as to how many hours they worked each week

 were not believable.

        Second, Plaintiffs’ assertion that it was clearly erroneous for the Court to find that

 Defendants “somewhat rebutted” Plaintiffs’ claims of average hours worked (ECF No. 468 at 16)

 rests on the fallacy that Judge Shirley faced a binary choice between wholesale belief of

 Defendants’ witnesses or of Plaintiffs’ witnesses. This is not, however, a negligence case in which


                                     5
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 5 of 21 PageID #: 18442
 Judge Shirley had to decide between conflicting testimony as to whether the defendant driver ran

 through a stop sign or whether she failed to have her lights on. In such a situation, disbelief of one

 party compels belief of the other as there are only two possibilities – the driver either ran the stop

 sign or did not; the lights were either on or they were not. Here, Judge Shirley could believe

 neither sides’ witnesses as to how many hours were worked and find that the truth lay somewhere

 in between what each said. Indeed, that is what he found. (See ECF No. 427 at 156 (noting the

 Court was “mindful that each witness may have been biased, high or low, in their respective

 testimony and estimates on hours worked.”)). Not believing Defendants’ witnesses that Plaintiffs

 averaged 25-35 hours a week does not compel belief of Plaintiffs’ testimony that they averaged

 more than 63 hours a week. Certainly, Judge Shirley’s disbelieving Plaintiffs’ testimony on the

 number of hours worked is not “clearly erroneous.”

     C. There Is Abundant Evidence in the Record Showing that Plaintiffs’ Testimony

        Regarding Their “Average” Hours Was Not Believable.

        Plaintiffs presented wildly varying testimony as to the number of hours they claim to have

 worked each week, ranging from 50 hours per week to as much as 80 hours per week.2 (ECF No.

 468-5). Thus, some Plaintiffs testified that they worked 10 overtime hours per week and other

 Plaintiffs testified that they worked 30 hours of overtime per week. The fact that Plaintiffs – as a

 group of “similarly situated” employees – testified so inconsistently regarding their hours of work



 2
   Plaintiffs’ testimony regarding the “average” number of hours they worked per week over the
 course of several years was not truly an “average” in the mathematical sense. For example, one
 could say that “for 40 weeks out of the year, I worked 48 hours per week, and for the remaining
 12 weeks of the year I worked 30 hours per week, so I averaged about 44 hours per week [40 x 48
 (1,920) + 12 x 30 (360) = 2,280/52 = 43.8 hours per week].” Here, Plaintiffs offered no such
 testimony. Plaintiffs simply estimated or “guessed” at how many hours they believed they worked
 in a so-called “typical” week during a busy month – as discussed further herein.




                                     6
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 6 of 21 PageID #: 18443
 is grounds to disbelieve them and find their testimony was mere guesswork. Some of the Plaintiffs

 admitted as much. (See ECF No. 377 at 507 (Plaintiff Craig Thrift stated that his “best guess”

 would be 65 hours per week); ECF No. 389 at 19, 34-35 (Plaintiff Bobby Stallings admitted that

 it was “hard to average”); Plfs.’ Counter-Designations, ECF No. 413-28, Navarro Dep. at 108

 (testifying that he didn’t know how many hours he worked but it may have been 40-60 per week,

 which was “just a guess”); ECF No. 383 at 137 (Plaintiff Kisa Abbott admitted that she was

 “speculating” regarding her average hours).

        Judge Shirley’s finding that Plaintiffs did not “‘always’ or even ‘regularly’ work[] as long

 as some claimed” in part because there were “slow days, less tours, and leaving early” and that

 their claimed average number of hours had to be reduced accordingly (see ECF No. 427 at 135-

 36) is amply supported by the record. First, Plaintiff’s own off-the-clock study supports this

 finding. The timestamp data from the off-the-clock study shows that nearly 70% of sales contracts

 were generated prior to 3:00 p.m. (See ECF No. 467-2, Aggregate Summary of Sales Timestamps

 from Plaintiffs’ Off-the-Clock Study). Sales peaked between noon and 1:00 p.m. and dropped off

 significantly during afternoon, which shows that less tours and sales were taking place in the

 afternoon. (See ECF No. 467-4, Chart: Distribution of Sales Throughout the Workday). Tours

 and sales in the evening were a rarity. (See id). With respect to the 49 Plaintiffs represented in

 the off-the-clock study, a closing after 3:00 p.m. only happened about once every three weeks for

 the average Plaintiff (3,172 weeks / 1,096 closings = 2.89 weeks for every late closing). (See ECF

 No. 467 at 14).

        Second, Plaintiffs’ testimony regarding how frequently they stayed late, and thus how

 many hours a week they worked, is completely inconsistent with the objective data in their off-

 the-clock study. For example:




                                     7
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 7 of 21 PageID #: 18444
    •   Belinda Drew testified that she “typically” worked until 6:00 or 8:00 p.m. because her

        “tours would last until somewhere between 6:00 and 8:00 in the evening.” (ECF No. 384

        at 202, 206). However, the off-the-clock study shows that she only generated two sales

        contracts after 5:00 p.m. (ECF Nos. 467-1, 467-3), over the course of 61 weeks. (ECF No.

        467-5). Drew testified she worked 65 hours a week. (ECF No. 384 at 201).

    •   James Campbell testified that he “typically” left work so late that “it would be dark”

        outside. (ECF No. 392 at 188). However, the off-the-clock study shows that he only

        generated three sales contracts after 6:00 p.m. (ECF Nos. 467-1, 467-3), over the course of

        98 weeks. (ECF No. 467-5). Campbell testified he worked 70 hours a week. (ECF No.

        392 at 192).

    •   Jesse Pierce testified that “the earliest” he left work was 6:30 or 7:00 p.m. and that he

        stayed later if he made a sale. (ECF No. 393 at 141.) However, the off-the-clock study

        shows that he generated only five sales contracts after 6:00 p.m. (ECF Nos. 467-1, 467-3),

        over the course of 155 weeks. (ECF No. 467-5). Thus, on average, he generated a contract

        after 6:00 p.m. about once every 31 weeks. Pierce testified that he worked 80 hours per

        week. (ECF No. 393 at 124, 127).

    •   Mike Pierce Sr. testified that he stayed as late as 11:00 p.m. because of tours “that resulted

        in a deal.” (ECF No. 392 at 247-248). However, the off-the-clock study shows that he never

        generated a sales contract after 8:00 p.m. and only generated 12 contracts after 5:00 p.m.

        (ECF Nos. 467-1, 467-3), over the course three years. (ECF No. 467-5). Thus, on average,

        he generated a contract after 5:00 p.m. about once every three months. He testified that he

        worked 70-75 hours per week. (ECF No. 392 at 246-247, 263).




                                     8
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 8 of 21 PageID #: 18445
    •   Brett Williamson testified that he “would typically leave around 9, 10 o’clock at night” and

        that sales tours were the reason he worked so late. However, the off-the-clock study shows

        that he never generated a sales contract after 7:00 p.m. and only generated three contracts

        after 5:00 p.m. (ECF Nos. 467-1, 467-3), over the course of 31 weeks. (ECF No. 467-5).

        Williamson testified that he worked “60-plus” hours per week, “at least.” (ECF No. 386 at

        133).

    •   Claudia Bogardus testified that her weekly “average” was based on her generally leaving

        at 8:00 or 9:00 p.m. (ECF No. 378 at 190). However, the off-the-clock study shows that

        she never generated a sales contract after 5:00 p.m. (ECF Nos. 467-1, 467-3). Bogardus

        testified she worked 60-65 hours a week. (ECF No. 378 at 190).

 The objective data from Plaintiffs’ own trial exhibit is devastating to the credibility of their

 testimony regarding how many hours a week they worked. Judge Shirley had ample reason to

 discredit that testimony, and Plaintiffs’ current position – that the Court should award damages

 based entirely off their testimony – is untenable.

        Judge Shirley’s finding that Plaintiffs did not work as many hours during the slow season

 as they claimed, as well as the resulting determination that their average number of hours had to

 be reduced, is supported by the evidence. (See ECF No. 427 at 134-36). For example:

    •   Tony Siler testified that he worked 20-30 hours per week in January and February. (ECF

        No. 377 at 83, 94). He also testified it was possible that he worked less than 20 hours per

        week in those months. (Id. at 59).

    •   Shannon Abbott went on vacation every year to go fishing for two months in January and

        February. (ECF 384 at 102).




                                     9
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 9 of 21 PageID #: 18446
     •   Perry Magee testified that he worked less hours during slow season; he testified that some

         employees “at the bottom of the power line” (i.e. with those with weak sales performance)

         might not get any tours during slow season. (ECF No. 384 at 291-292, 319).

     •   Russell Cooper testified that he worked less hours at the Crossing and the Lodge during

         January and February. (ECF No. 392 at 131).

     •   Craig Thrift testified that there were 2-4 slow weeks in January and February at the

         Crossing. (ECF No. 377 at 197).

     •   James Campbell testified that there were less tours in January through April and that “a

         lot” of sales representatives would go on vacation or apply for unemployment benefits.

         (ECF No. 392 at 193-194, 199).

     •   Brett Williamson testified that he worked fewer hours during January, February, and

         March. (ECF No. 386 at 137).

     •   Numerous other Plaintiffs testified generally that it was “slow” during January and

         February and they worked less hours. (See, e.g., ECF No. 383 at 137 (Kisa Abbott); ECF

         No. 378 at 156 (Lee Johnson); ECF No. 378 at 116-117, 120 (James Dodson); ECF No.

         421-15 at 5 (Stacy Heaton).

         Plaintiffs’ contention that Judge Shirley got it wrong on this particular point is dependent

  on picking and choosing only the evidence and findings which favor Plaintiffs, and not the record

  as a whole, as well as on the fundamentally flawed premise that Judge Shirley was required to

  believe everything favorable that they said. Plaintiffs argue that when they testified regarding their

  average hours, they “had already taken into account” that they worked fewer hours in January and

  February. (ECF No. 468 at 17). But only a small handful of Plaintiffs, such as Cooper and

  Campbell, expressly affirmed that they had accounted for the slow season weeks. (ECF No. 392



                                     10
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 10 of 21 PageID #: 18447
  at 112, 194). The vast majority of Plaintiffs did not testify that their estimate accounted for the

  slow season. What’s more, Plaintiffs frequently testified based on a “typical” week during a busy

  month and not based on a mathematical “average” accounting for non-busy, and thus lower-hours,

  weeks. (See, e.g., Plfs.’ Depo. Designations, ECF No. 414-5, Neuenschwander Dep. pp.111-114

  (estimating his average using a typical busy day and failing to affirm that he accounted for slow

  season); ECF No. 378 at 130, 155-156 (same, for Lee Johnson); ECF No. 376 at 85-87 (same, for

  Alana Cheij); ECF No. 377 at 195 (Craig Thrift stated that his “best guess would be 65 per week

  on average,” explained his “guess” using a typical busy day, and failed to affirm that he had

  accounted for slow season).

         Wyndham also impeached individual Plaintiffs by showing that their testimony at trial was

  inconsistent with their deposition testimony regarding their hours of work. For example:

     •   David Nelon testified that he worked 50-60 hours per week at the resort, plus an additional

         10-12 hours per week away from the premises, for a total of 60-72 hours per week. (ECF

         No. 375 at 228-229, 239-240). On cross-examination, however, Nelon admitted that he

         testified at his deposition to a total of 50-60 hours per week, inclusive of after-hours phone

         calls. (ECF No. 377 at 25-26). Nevertheless, Plaintiffs attribute 67 hours per week for

         Nelon, rather than the 55 hours per week represented in his conflicting deposition

         testimony. (ECF No. 468-5).

     •   Brett Williamson testified at his deposition that he normally worked 8-10 hours a day for

         6 days a week, which is 48-60 hours per week. (ECF No. 386 at 148-149). However,

         Williamson then generously rounded it up to “around 60” hours per week. (Id.). At trial,

         he upped the ante and testified that he typically worked “60-plus” hours per week “at least.”

         (Id. at133.)




                                     11
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 11 of 21 PageID #: 18448
      •   Tony Siler testified at his deposition that he worked 60-65 hours per week during the busy

          months. (ECF No. 421-28 at 2.) At trial, he testified that he worked only 50-60 hours per

          week during the busy months. (ECF 377 at 83.)

      •   Russell Cooper admitted at trial that he “testified differently” at his deposition regarding

          his hours of work. (ECF No. 392 at 134.)

      •   Perry Magee testified at trial that he knew how many hours per week that he spent on after-

          hours calls with customers, but he admitted at his deposition that he would have to

          speculate as to how many hours he spent on after-hours calls. (ECF No. 384 at 305-06.)

          Plaintiffs’ effort in their brief to suggest that there was no basis in the record upon which

  Judge Shirley could reduce their claimed hours plainly fails. As shown above, there was

  significant evidence upon which to determine Plaintiffs’ testimony was not credible with respect

  to their claimed average weekly hours. Given the foregoing and given that Judge Shirley had the

  opportunity to judge Plaintiffs’ credibility by observing their facial expressions and hearing the

  tone in their voice as they testified, it would be clear error to disregard his finding that Plaintiffs

  did not credibly testify about their average hours worked.

      D. Mt. Clemens Does Not Require The Court To Accept Plaintiffs’ Thoroughly Rejected

          Estimates Of Their Work Hours.

          Plaintiffs argue that they met their burden under Mt. Clemens, Wyndham did not, and so

  the Court has no option but to give them everything they are asking for. This argument rests on

  two fundamentally flawed premises: first, that Defendants did not meet their burden in this case;

  and second, that if a defendant does not meet its burden under Mt. Clemens, a court may not assess

  the credibility of the plaintiff’s claims as to hours worked but, instead, must accept their claims as

  true.




                                     12
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 12 of 21 PageID #: 18449
         The Sixth Circuit has summarized the Mt. Clemens framework as follows:

         “[W]here the employer’s records are inaccurate or inadequate and the employee
         cannot offer convincing substitutes . . . an employee has carried out his burden if
         he proves that he has in fact performed work for which he was improperly
         compensated and if he produces sufficient evidence to show the amount and extent
         of that work as a matter of just and reasonable inference.” Mt. Clemens, 328 U.S.
         at 687. . . . Once the employees satisfy their relaxed burden for establishing the
         extent of uncompensated work, “[t]he burden then shifts to the employer to come
         forward with evidence of the precise amount of work performed or with evidence
         to negative the reasonableness of the inference to be drawn from the employee’s
         evidence.” Mt. Clemens, 328 U.S. at 687-88.

  Monroe v. FTS USA, LLC, 860 F.3d 389, 398-399 (emphasis added). Applying this framework,

  Judge Shirley concluded that Plaintiffs demonstrated that they worked overtime but that Wyndham

  had shown that Plaintiffs did not work as much overtime as they were claiming: “Specifically,

  Plaintiffs have requested that the Court award 63.66 hours per week for all Plaintiffs. See [Doc.

  417-5]. While the Court finds Plaintiffs have established that they worked overtime, the Court

  finds Defendants have somewhat rebutted Plaintiffs’ average, and further finds Plaintiffs’ own

  testimony, albeit only estimates, to be a bit on the high side, and thus, a reduction is warranted.”

  (ECF No. 427 at 132-33 (emphasis added)). Defendants met their burden by somewhat rebutting;

  i.e. by “negativing” Plaintiffs’ claimed hours.3

         Plaintiffs’ argument further depends on the unsupportable assertion that the Court, having

  disbelieved Defendants as to the hours worked, must believe Plaintiffs’ claims as to the hours

  worked. As discussed in Section B, supra, the Court is not faced with such a binary choice.

  Moreover, as the Sixth Circuit’s Pattern Jury Instructions explain, the factfinder is “free to believe



  3
    To the extent that Plaintiffs argue that Judge Shirley should have found that Plaintiffs worked all
  the hours they testified to working (regardless of whether he found their testimony on this point to
  be credible) because he found that Wyndham failed to show the precise amount of work that
  Plaintiffs performed, Mt. Clemens does not support that argument as the employer’s burden is in
  the disjunctive – provide evidence of the precise hours worked or provide evidence that negatives
  the reasonableness of plaintiffs’ claimed hours. Mt. Clemens, 328 U.S. at 687-88.


                                     13
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 13 of 21 PageID #: 18450
  everything that a witness said, or only part of it, or none of it at all.” 6TH CIR. PATTERN CRIM. JURY

  INSTR. § 1.07 (further explaining that whether a witness’s testimony is “contradicted by other

  evidence” is just one of many factors relevant to credibility); see also 11TH CIR. PATTERN CIV. JURY

  INSTR. § 3.4 (“You should decide whether you believe what each witness had to say . . . . In making

  that decision you may believe or disbelieve any witness, in whole or in part. The number of

  witnesses testifying concerning a particular point doesn’t necessarily matter.”). It was absolutely

  within the province of Judge Shirley to believe Plaintiffs on liability questions but not on the

  number of hours they claimed they worked.

         Further, requiring the Court to blindly accept Plaintiffs’ claimed hours is inconsistent with

  the Supreme Court’s recent application of Mt. Clemens: “Once a district court finds evidence to

  be admissible, its persuasiveness is, in general, a matter for the jury. Reasonable minds may differ

  as to whether the average time [plaintiffs’ expert] calculated is probative as to the time actually

  worked by each employee. Resolving that question, however, is the near-exclusive province of the

  jury.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1049 (2016).

         Judge Shirley sat in the role of the jury during the bench trial in this case, weighed the

  credibility of the witnesses, and significantly reduced the number of hours Plaintiffs claimed to

  have worked based on his assessment of their credibility. (ECF No. 427 at 150-156).            Judge

  Shirley did what the Sixth Circuit in O’Brien instructed he should do under Mt. Clemens: “If the

  employer cannot negate the estimate, then the ‘court may award damages to the employee, even

  though the result be only approximate.’” O’Brien v. Ed Donnelly Enters., 575 F.3d 567, 602-603

  (6th Cir. 2009) (quoting Mt. Clemens). Judge Shirley found that Wyndham had “somewhat

  rebutted” Plaintiffs’ average number of hours worked and he awarded an approximate number as

  damages based on the evidence presented.




                                     14
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 14 of 21 PageID #: 18451
         Plaintiffs fail to cite any authority to support their “winner-takes-all” construction of Mt.

  Clemens. This is not surprising because that illogical interpretation of Mt. Clemens has not been

  adopted by courts in the Sixth Circuit. For example, in Bauer v. Singh, several of the named

  plaintiffs claimed, as Plaintiffs did here, to have worked a certain number of average overtime

  hours every week while the company’s time records reflected no overtime. Bauer v. Singh, 2010

  U.S. Dist. LEXIS 128952, at *5-6 (S.D. Ohio Dec. 7, 2010). Even though the court agreed that

  the company’s time records were not accurate, it did not enter judgment for the plaintiffs based on

  the number of hours they claim to have worked. Id. at *23. Applying Mt. Clemens, the court

  stated, “Defendants have produced some evidence rebutting Bauer’s estimates, albeit not record

  ‘evidence of the precise amount of work performed,’ that tends to negate any ‘reasonableness of

  the inference’ that could be drawn from Bauer’s testimony. In other words, the posture of the

  evidence, including credibility concerns, is such that genuine issues of material fact remain that

  are only appropriate for determination by the finder of fact.” Id. at *28 (quoting Mt. Clemens, 328

  U.S. at 686-87). Likewise, in this case, Plaintiffs are not entitled to recover whatever they say they

  should recover based on their testimony because Defendants somewhat rebutted Plaintiffs’ claimed

  hours and Judge Shirley had significant credibility concerns regarding their testimony.

         Wyndham agrees with Plaintiffs that Judge Shirley failed to explain how he calculated an

  average of 52 hours per week. Consequently, Wyndham has proposed its own damages model that

  considers both Judge Shirley’s credibility findings and objectively reliable evidence (the off-the-

  clock study data) showing how often and how late Plaintiffs stayed late for closing sales. (See

  ECF No. 467 at 5-17). Wyndham’s model accounts for other work-related activity both by

  providing a ‘bump’ of three extra hours per week, as well as by crediting each plaintiff with

  working 5.5 days a week even though Judge Shirley found only that Plaintiffs “often” worked 5-6




                                     15
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 15 of 21 PageID #: 18452
  days a week, not that they always did or even averaged doing so. (See id. at 9, 17-20). Defendants

  also did not deduct from the 5.5 days a week even though Judge Shirley found Plaintiffs worked

  “something less” than 5-6 days a week in January and February (ECF No. 427 at 156); rather,

  Defendants applied 5.5 days a week for the entire year. This methodology offers the Court a more

  reasonable means of calculating an average number of hours worked per week. By contrast,

  Plaintiffs offer their self-serving estimates of the hours that they worked which Judge Shirley

  plainly found did not match up with reality and rejected in awarding them significantly fewer hours

  than they claimed. It would be clear error to disregard Judge Shirley’s credibility determinations

  on a cold record, adopt Plaintiffs’ unprecedented “winner-takes-all” interpretation of Mt. Clemens,

  and use Plaintiffs’ discredited testimony as the sole basis for a damages award.

     E. Plaintiffs’ Arguments Regarding Discovery Employees Are Unfounded and

         Inconsistent with the Sixth Circuit’s Controlling Opinion.

         Although Plaintiffs concede that only one discovery employee testified at trial, Plaintiffs

  argue that the Court should enter an award of damages for all discovery employees. (ECF No. 458

  at 18-20). In doing so, Plaintiffs blatantly disregard the limits of the remand instruction issued by

  the Sixth Circuit: “Because the [trial] court erred in finding that the discovery employees were

  similarly situated to the other salespeople and that error infected its hourly average determination,

  we vacate the damages award and remand for the court to reassess damages for the in-house and

  front-line employees.” Pierce v. Wyndham Vacation Resorts, Inc., 922 F.3d 741, 749 (6th Cir.

  2019) (emphasis added). Likewise, Plaintiffs conveniently ignore the Sixth Circuit’s discussion

  and holding that there was insufficient evidence in the trial record regarding the hours of work of

  discovery employees. See id. at 746-47.




                                     16
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 16 of 21 PageID #: 18453
         Since the substance of the Sixth Circuit’s Opinion is highly unfavorable to them, Plaintiffs

  cherry-pick a single quote from the Opinion and try to manipulate it to justify their desired result.

  In its Opinion, the Sixth Circuit stated: “At the least, the court should have created a separate

  subclass for the discovery employees.” Id. at 747. Plaintiffs then try to use that quote as the basis

  to belatedly fashion a subclass (after the trial has already concluded) and award damages to

  discovery employees. Yet, if Plaintiffs wanted to pursue a subclass of discovery employees they

  “should have” moved the Court to certify a subclass before the case was tried and they “should

  have” presented adequate evidence at trial that would have supported a subclass.4 They did not do

  so. Further, the Sixth Circuit’s point that a subclass “should have” been created in the past is not

  equivalent to an instruction that the District Court “must now” create a subclass on remand

  irrespective of whether there is evidence in the record to support creation of a subclass. Essentially,

  Plaintiffs ask this Court to stretch the meaning of the Sixth Circuit’s quote about a subclass and

  then expand the scope of the remand instruction – which is limited to front-line and in-house

  employees in very plain terms.

         Moreover, looking to the substantive context of the Sixth Circuit’s Opinion surrounding

  the quote at issue reveals that the trial record contains insufficient evidence to retroactively create

  a subclass and award damages to discovery employees. Specifically, the Sixth Circuit stated:



  4
    Whether subclasses may be created is an issue that is “properly addressed at the second stage” of
  the collective action certification process. Thompson v. Bruister & Assocs., 967 F. Supp. 2d 1204,
  1221 (M.D. Tenn. 2013) (quotation omitted). At the very latest, proposed subclasses must be
  addressed during the trial planning process, so that there is adequate representative evidence at
  trial that would allow a factfinder to make determinations specific to each subclass. See O’Connor
  v. Uber Techs., 2015 U.S. Dist. LEXIS 116482, at *52 n.13 (N.D. Cal. Sep. 1, 2015); Wilson v.
  Navika Capital Grp., LLC, 2014 U.S. Dist. LEXIS 7181, at *53-54 (S.D. Tex. Jan. 17, 2014);
  Espenscheid v. DirectSat USA, LLC, 2011 U.S. Dist. LEXIS 56062, at *8-9 (W.D. Wis. May 23,
  2011); Wilks v. Pep Boys, No. 3:02-cv-837, 2006 U.S. Dist. LEXIS 69537, at *22-23 (M.D. Tenn.
  Sep. 26, 2006). Here, Plaintiffs never moved to certify a subclass of Discovery employees and
  never submitted a trial plan with subclasses.


                                     17
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 17 of 21 PageID #: 18454
  “Only one of the discovery employee-plaintiffs testified at trial, and he did not indicate that

  discovery employees participated in party weekends, that Wyndham required the discovery team

  to work six days a week, or that the discovery sales-people at the other Tennessee locations

  performed the same functions he did, all in contrast to the consistent testimony from the in-house

  and front-line employees.” Pierce, 922 F.3d at 746-47 (emphasis added). The trial record does

  not contain the evidence to support a determination that the discovery employees are similarly

  situated to each other, a finding which would be required to form a subclass.

         As to damages, the record likewise contains insufficient evidence. The Sixth Circuit stated:

  “the district court made no factual findings about how often the discovery team members stayed

  late or how much later they stayed. The off-the-clock work study, which showed the dates and

  times of in-house and front-line employees’ transactions, does not show similar data for the

  discovery employees. No evidence thus shows how often or at what time discovery salespeople

  initiated or closed contracts.” Id. at 747 (emphasis added).

         Plaintiffs nevertheless ask the Court to find that all discovery employees worked an average

  of 61 hours per week – based on the testimony of a single employee, Bobby Stallings. In doing

  so, Plaintiffs mischaracterize Judge Shirley’s Opinion by stating that “the District Court found that

  Mr. Stallings worked at least 61 hours per week on average.” (ECF No. 468 at 20). In reality,

  however, Judge Shirley merely summarized that “Stallings testified that he worked at least 61

  hours per week.” (ECF No. 427 at 48 (emphasis added)). Judge Shirley did not make any factual

  finding that Stallings in fact worked 61 hours per week. To the contrary, Judge Shirley treated all

  discovery employees as similarly situated to the front-line and in-house employees and concluded

  that they all worked 52 hours per week on average. (ECF No. 427 at 136). As the Sixth Circuit

  held, it was an abuse of discretion to treat the discovery employees as similarly situated to the




                                     18
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 18 of 21 PageID #: 18455
  frontline and in-house sales employees and “the district court made no factual findings” regarding

  their hours of work. Pierce, 922 F.3d at 747, 749.

         In arguing their position that the Court can now make findings regarding the hours of work

  of a subclass of discovery employees, Plaintiffs even directly dispute the validity of the Sixth

  Circuit’s Opinion. Plaintiffs acknowledge that “the Sixth Circuit held that Discovery Sales

  Representatives started later than those working Front Line or In House because [they] did not

  attend the mandatory morning meeting.” (ECF No. 468 at 19); see also Pierce, 922 F.3d at 747

  (“the discovery team started later than the in-house and front-line teams”). Yet, Plaintiffs then

  cavalierly claim that “the Sixth Circuit’s conclusion is not supported by the record.” (ECF No. 468

  at 19). Needless to say, this argument is dead on arrival, since “when a case has been remanded

  by an appellate court, the trial court is bound to proceed in accordance with the mandate and law

  of the case as established by the appellate court.” Goldberg v. Maloney, 692 F.3d 534, 538 (6th

  Cir. 2012) (quotation omitted); accord Stryker Corp. v. TIG Ins. Co., No. 1:05-cv-51, 2014 U.S.

  Dist. LEXIS 5119, at *3-4 (W.D. Mich. Jan. 15, 2014); see also Campbell v. United States, 592

  F.2d 309, 312 (6th Cir. 1979) (holding that a party who believes that the Court of Appeals “has

  rendered a decision which inadvertently overlooks critical facts which make its decision incorrect

  or unjust” must seek a rehearing under Rule 40 of the Federal Rules of Appellate Procedure and

  that litigants “may not ignore this rule and its time limitations by then turning to the district court

  and asking it” to revisit the decision of the appellate court). The Court should reject Plaintiffs’

  invitation to flaunt the controlling Opinion that the Sixth Circuit issued in this case.

         The record is devoid of evidence that would allow the Court to create a subclass and award

  damages to discovery employees. Such relief would be fundamentally inconsistent with the Sixth

  Circuit’s determinations on appeal. Instead, the Court should follow well-established precedent




                                     19
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 19 of 21 PageID #: 18456
  and dismiss the discovery employees without prejudice because they are not similarly situated to

  the front-line and in-house employees who remain in the collective action. (See ECF No. 467 at 3

  (collecting case law stating that proper remedy is dismissal without prejudice)).

     F. Conclusion

         For all the reasons set forth above, it would be clear error to award Plaintiffs damages based

  on their own discredited testimony. The Court should adopt Defendants’ damages model, which is

  based on Judge Shirley’s factual findings, objectively reliable data, and reason. In addition, the

  Court should dismiss the Discovery employees because that is the proper remedy and the relief

  sought by Plaintiffs for those employees is unsupported by evidence and inconsistent with the Sixth

  Circuit’s Opinion.



                                            Respectfully submitted,

                                            s/ Craig A. Cowart
                                            Colby S. Morgan, Jr. (TN Bar No. 005556)
                                            Craig A. Cowart (TN Bar No. 017316)
                                            JACKSON LEWIS P.C.
                                            999 Shady Grove Rd., Suite 110
                                            Memphis, TN 38120
                                            Telephone: (901) 462-2600
                                            Facsimile: (901) 462-2626
                                            Email:      colby.morgan@jacksonlewis.com
                                                        craig.cowart@jacksonlewis.com

                                            William J. Anthony (Admitted Pro Hac Vice)
                                            JACKSON LEWIS P.C.
                                            18 Corporate Woods Blvd, 3rd Floor
                                            Albany, NY 12211
                                            Telephone: (518) 649-9643
                                            Facsimile: (518) 427-5956
                                            Email: AnthonyW@jacksonlewis.com




                                     20
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 20 of 21 PageID #: 18457
                                          D. Christopher Lauderdale (Admitted Pro Hac Vice)
                                          JACKSON LEWIS P.C.
                                          15 South Main Street, Suite 700
                                          Greenville, SC 29601
                                          Email: Lauder@jacksonlewis.com

                                          ATTORNEYS FOR DEFENDANTS




                                 CERTIFICATE OF SERVICE

          I hereby certify that I have this 20th day of September, 2019, electronically filed the
  foregoing with the Clerk of Court using the CM/ECF system, which will automatically send an
  electronic notification of such filing to the following:

                                  Martin D. Holmes (TN Bar No. 012122)
                                  Peter F. Klett (TN Bar No. 012688)
                                  M. Reid Estes, Jr. (TN Bar No. 009043)
                                  Autumn L. Gentry (Bar No. 20766)
                                  DICKINSON WRIGHT PLLC
                                  Fifth Third Center, Suite 800
                                  424 Church Street
                                  Nashville, TN 37219
                                  Telephone: (615) 244-6538
                                  Email: mdholmes@dickinsonwright.com
                                          pklett@dickinsonwright.com
                                          restes@dickinsonwright.com
                                          agentry@dickensonwright.com


                                  ATTORNEYS FOR PLAINTIFFS AND OPT-IN PLAINTIFFS


                                                     s/ Craig A. Cowart
                                                     Attorney for Defendants


  4825-9822-2757, v. 5




                                     21
Case 3:13-cv-00641-DCP Document 470 Filed 09/20/19 Page 21 of 21 PageID #: 18458
